Case 8:22-cv-02584-DKC Document 1

Filed 10/08/22 Page1of12

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

David |. Schoenholtz

630 Thomas L. Berkley Way; #803

Oakland, CA 94612

(Write the full name of each plaintiff who is filing
this complaint. If the names of all the plaintiffs
cannot fit in the space above, please write “see
attached” in the space and attach an additional

page with the full list of names.)

-against-

Brivo, Inc.

7700 Old Georgetown Road; Suite #300

Bethesda, Maryland 20814

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

Complaint for Employment
Discrimination

Case No.

(to be filled in by the Clerk’s Office)

Jury Trial: Yes UO No
(check one)

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The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach

additional pages if needed.

Name

Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

David |. Schoenholtz

630 Thomas L. Berkley Way; #803

Oakland; Alameda

California, 94612

301.455.4873

david.i.schoenholtz@gmail.com

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name

Job or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Brivo, Inc.

7700 Old Georgetown Road; Suite #300

Bethesda; Montgomery

Maryland 20814

301.664.5242

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Defendant No. 2

Name

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Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

Defendant No. 3

Name

Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

Gf known)

(If there are more than three defendants, attach an additional page
providing the same information for each additional defendant.)

C. Place of Employment

The address at which I sought employment or was employed by the defendant(s)
is:

Name Brivo, Inc.

Street Address 7700 Old Georgetown Road; Suite #300

City and County Bethesda; Montgomery

State and Zip Code Maryland 20814

Telephone Number 301.664.5242

Il.

Til.

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Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that
apply):

to’ Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e
to 2000e-17 (race, color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you
must first obtain a Notice of Right to Sue letter from the Equal
Employment Opportunity Commission.)

Oj Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
§§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age
Discrimination in Employment Act, you must first file a charge with the
Equal Employment Opportunity Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112
to 12117.

(Note: In order to bring suit in federal district court under the Americans
with Disabilities Act, you must first obtain a Notice of Right to Sue letter
from the Equal Employment Opportunity Commission.)

O Other federal law (specify the federal law):

i Relevant state law (specify, if known):

The Maryland Human Relations Commission Act, the Maryland Fair Employment Practices Act

O Relevant city or county law (specify, if known):

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.
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A. The discriminatory conduct of which I complain in this action includes (check all
that apply):
O Failure to hire me.

. Termination of my employment.

Failure to promote me.
Failure to accommodate my disability.
Unequal terms and conditions of my employment.
Retaliation.
O Other acts (specify):

(Note: Only those grounds raised in the charge filed with the Equal
Employment Opportunity Commission can be considered by the federal
district court under the federal employment discrimination statutes.)

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)

October 2015-February 2020

C. I believe that defendant(s) (check one):

O is/are still committing these acts against me.

O is/are not still committing these acts against me.

D. Defendant(s) discriminated against me based on my (check all that apply and
explain):

race

color

gender/sex

religion

national origin

age. My year of birth is . (Give your year of birth
only if you are asserting a claim of age discrimination.)

disability or perceived disability (specify disability)

a AOD

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The facts of my case are as follows. Attach additional pages if needed.

Please see attached.

(Note: As additional support for the facts of your claim, you may attach to this
complaint a copy of your charge filed with the Equal Employment Opportunity
Commission, or the charge filed with the relevant state or city human rights
division.)

IV. Exhaustion of Federal Administrative Remedies

A.

It is my best recollection that I filed a charge with the Equal Employment
Opportunity Commission or my Equal Employment Opportunity counselor
regarding the defendant’s alleged discriminatory conduct on (date)

November 30, 2020

The Equal Employment Opportunity Commission (check one):

O has not issued a Notice of Right to Sue letter.

O issued a Notice of Right to Sue letter, which I received on (date)
Letter issued on 7.11.22; received on 8.24.22 (attached).

(Note: Attach a copy of the Notice of Right to Sue letter from the
Equal Employment Opportunity Commission to this complaint.)

Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment
Opportunity Commission regarding the defendant’s alleged discriminatory
conduct (check one):

O 60 days or more have elapsed.

O less than 60 days have elapsed.
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Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or

exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages.

Plaintiff is seeking the following relief in the maximum amounts permitted under law:

Lost wages; lost benefits; punitive damages; emotional distress damages; attorneys’ fees: and costs.

VI.

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A.

For Parties Without an Attorney

[ agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: , 20

Signature of Plaintiff

Printed Name of Plaintiff

(If more than one plaintiff is named in the complaint, attach an additional
certification and signature page for each additional plaintiff)

For Attorneys
Date of signing: QO Vid, 4 | , 2022,
Signature of Attorney fils jy Leg |

Printed Name of Attorney Richard L. Sloane

Bar Number 17522

Name of Law Firm Sloane Law Firm

Address 803 South Belgrade Road

Telephone Number 301.500.5351 or 301.593.8840
E-mail Address RICHARD.L.SLOANE@GMAIL.COM

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
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extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A. For Parties Without an Attorney

agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. J understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: Ddober 7 , 2022,
Signature of Plaintite «= DAD 1. Q

"Printed Name of Plaintiff David t, Schoenheltz,

(if more than one plaintiff is named in the complaint, attach an additional
certification and signature page for each additional plaintiff.)

B. For Attorneys

Date of signing: , 20

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm

Address

Telephone Number
E-mail Address

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% U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Washington Field Office

131 M Street, NE Fourth Floor, Suite 4NWO2F
Washington, DC 20507

(800) 669-4000

Website: www.ecoc. gov

CLOSURE DOCUMENT ENCLOSED

Mr. David Schoenholtz
Richard Sloane

Sloane Law Firm

803 South Belgrade Road
SILVER SPRING, MD 20902

Re: Mr. David Schoenholtz v. BRIVO, INC
EEOC Charge Number: 570-2021 -00386

The United States Equal Employment Opportunity Commission (EEOC) issued the enclosed
document in the above-referenced charge on the date reflected thereon. Specifically, on that date,
EEOC sent you an email notification that EEOC had made a decision regarding the above-
referenced charge and advised you to download a copy of the decision document from the Portal.
Our records indicate you have not downloaded that document from the portal. For your
convenience, a copy of that document is enclosed with this letter.

[hope this information is helpful. If you have questions, please contact Mardjon Hedayati by
telephone at (202) 921-2794 or email at MARDJON.HEDAYATI@EEOC.GOV.

Sincerely,

08/10/2022 Mardjon Hedayati
Investigator

Enclosure
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Ta U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Washington Field Office

131 M Street, NE Fourth Floor, Suite ANWO2F
Washington, DC 20507

(800) 669-4000

Website: wwww.eeoc. gov

DETERMINATION AND NOTICE OF RIGHTS
(This Notice replaces EEOC FORMS 161 & 161-A)

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Issued On: 07/11/2022
To: Mr. David Schoenholtz
695 Noe Street Unit 5
San Francisco, CA 94114

Charge No: 570-2021-00386

EEOC Representative and email: Mardjon Hedayati
Investigator
mardjon.hedayati@eeoc.gov

DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
. the merits of any other issues that might be construed as having been raised by this charge.

NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 570-2021-00386.

On behalf of the Commission,

Digitally Signed By:Mindy Weinstein
07/11/2022

Mindy Weinstein
Director

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Ce:

Gloria Salmeron

BRIVO
gloria.salmeron@brivo.com

Edward S Schenk
Williams Mullen PC
eschenk@williamsmullen.com

Richard L Sloane
SLOANE LAW FIRM
richard.].sloane@gmail.com

Richard Sloane

Sloane Law Firm
richard.Lsloane@gmail.com

Please retain this notice for your records.

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